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                                UNITED STATES DISTRICT COURT
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                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                      WESTERN DIVISION
11
       UNITED STATES OF AMERICA,
12                                             Case No. 2:21-cv-07155-RSWL-MRWx
                  Plaintiff,
13                                             [PROPOSED] ORDER EXTENDING TIME TO
                        v.                     RESPOND TO COMPLAINT
14
       $240,000.00 IN U.S. CURRENCY AND
15     MISCELLANEOUS PRECIOUS ITEMS,

16                Defendants.

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18           Pursuant to the stipulation and request of the parties, and good
19     cause appearing therefor, IT IS HEREBY ORDERED that potential
20     claimant Zen Alldredge’s time to file a claim is hereby extended from
21     May 9, 2022 to June 23, 2022 and to file an answer or other
22     responsive pleading to the complaint is extended from May 30, 2022 to
23     July 14, 2022.
24     Dated: May 9, 2022                    /S/ RONALD S.W. LEW
                                           THE HONORABLE RONALD S.W. LEW
25                                         UNITED STATES DISTRICT JUDGE
26     ///
27     ///
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       ///
     Case 2:21-cv-07155-RSWL-MRW Document 21 Filed 05/09/22 Page 2 of 2 Page ID #:67



 1     Presented By:

 2     TRACY L. WILKISON
       United States Attorney
 3     SCOTT M. GARRANGER
       Assistant United States Attorney
 4     Chief, Criminal Division
       JONATHAN GALATZAN
 5     Assistant United States Attorney
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 6

 7            /s/
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 8     MAXWELL COLL
       Assistant United States Attorneys
 9     Asset Forfeiture Section

10     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
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